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                      Hornbeam Application                   Ohio Amended Complaint                           Shulman Claims
                                                            Allegations
                 Hornbeam 1782 Application, ECF 4 at     Amended Complaint, ECF 28‐2, ¶¶ 19‐       Shulman English Complaint, ECF 78
                 5:                                      22:                                       (Sealed Document) at 19:
                 In 2001, Shulman knew of an             In 2001, Shulman discovered an            In around 2001 or 2002, and pursuant to
                 investment opportunity in the Steel     investment opportunity in a steel         the Agreement, Mr Shulman and the
                 Factory, and he shared this             factory in Warren.                        Defendants acquired Warren Steel
The Parties      opportunity the Other Ultimate          Shulman shared this opportunity with      (which comprised an old steel plant and a
 Purchase        Beneficial Owners. The Principals       Kolomoisky and Bogolubov…                 new steel plant located in Warren, Ohio)
Warren Steel     subsequently agreed to enter into a     After discussions, the three entered      from a company in bankruptcy called CSC,
                 Steel Factory‐related Joint Venture.    into a joint venture (“Joint Venture”)    Limited.
                                                         to purchase a steel manufacturing
                                                         facility, the equipment, and the real
                                                         property (the “Steel Factory”)

                 Hornbeam 1782 Application, ECF 4 at Amended Complaint, ECF 28‐2, ¶ 89:            Shulman English Complaint, ECF 78
                 11:                                                                               (Sealed Document) at 25:

                The actions of Kolomoisky, Bogolubov     The value of the shares have been         The proposed restructuring of WSH’s
                and/or Korf, and the entities            significantly decreased by the heavy      debts included the entry into a further
                controlled by them have minimized, if    burden of the restructured debt of        loan in the aggregate approximate
The $25 Million not eliminated, the ability of Shulman   Warren Steel and especially by            amount of $25 million and the
  Loan That     to get a return on his initial           granting a priority secured interest to   subordination of WSH’s debts to the
Diminished The investment. The value of the shares       the new loans in the amount of $25        repayment of the new loan facility. On
 Value of the   have significantly decreased by the      million in favor Optima Acquisitions,     20 August 2014 and in response to a
    Shares      heavy burden of the restructured         LLC (“Optima Acquisitions”), which is     request for further information regarding
                debt of Warren Steel and especially      controlled by Kolomoisky.                 the restructuring from Dr Ernst, Mr
                by granting a priority secured                                                     Symeou revealed that the lender under
                interest in Warren Steel to the new                                                the new loan agreement was Optima
                loans in the amount of $25 million in                                              Acquisitions.
                favor of related parties.
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                   Hornbeam Application                 Ohio Amended Complaint                        Shulman Claims
               Hornbeam 1782 Application, ECF 4 Amended Complaint, ECF 28‐2, ¶ Shulman English Complaint, ECF 78 (Sealed
               at 7:                            57:                            Document) at 23:

               In 2012, Shulman was informed of       In 2012, Defendants informed       By an email sent to Mr Shulman (who
               the existence of only roughly $18      Shulman of the existence of only   forwarded the email to Mr Pifko) on or
               million of related‐party loans,        roughly $18 million of Related     around November 2012, Mr Novikov stated
               which was planned to be                Party loans.                       that WSH had entered into transactions
               converted in the same manner of                                           described as “Intergroup Loans” for the total
               the original capitalization of the     ¶ 59:                              sum of $18,875,530.48 with five companies
               Divot loans into equity of Halliwel,                                      incorporated in the USA called Optima
               one‐third each for the ultimate     Defendants        made         false  Acquisitions LLC (“Optima Acquisitions”),
               benefit of the Principals. However, representations     to     Plaintiffs Optima Group LLC, Optima International, CC
               this debt re‐capitalization never   regarding       Warren       Steel’s  Metals & Alloys LLC and Felman Trading, Inc,
               occurred.                           indebtedness to Related Parties and   and that Optima Acquisitions had made
                                                   concealed at least $20,035,000 of     payments in the amount of $1,694,243.36 on
               Campanile Declaration, ECF 4‐2, fn. alleged Related Party loans from      behalf of WSH. To the best of Mr Shulman’s
               4:                                  Mordechai Korf ($2.5 million),        knowledge and belief, each of these
Self‐Dealing                                       Felman Trading, Inc. ($16,785,000),   companies is ultimately owned and/or
               The $106 million is calculated as   and     Optima    Ventures,      LLC  controlled by and/or associated with one or
               follows: … (b) additional           ($750,000).                           both of the Defendants and/or Mr Korf
               $19,335,000 not reflected in the                                          (collectively, “Related Companies”).
               table that was allegedly paid back
               for loans extended by Optima                                              Subsequently, by an email sent to Mr Pifko on
               Acquisitions, LLC between May 14,                                         17 December 2012, Mr Novikov stated that
               2009 and December 17, 2011.                                               the amount of the loans purportedly
                                                                                         provided by Related Companies to WSH was
                                                                                         $19,186,471. Mr Novikov added that these
                                                                                         loans would be assigned to Halliwel for $1,
                                                                                         following which Halliwel would subscribe for
                                                                                         further shares in WSH, with its obligation to
                                                                                         make payment for those shares being set off
                                                                                         against WSH’s outstanding liabilities under
                                                                                         the said loans.
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                  Hornbeam Application                  Ohio Amended Complaint                            Shulman Claims
                Hornbeam 1782 Application,        Amended Complaint, ECF 28‐2, ¶ 80:          Shulman English Complaint, ECF 78
                ECF 4 at 9:                                                                   (Sealed Document) at 25:
                However, during the course of    Despite Halliwel’s agreement to postpone     Unknown to Mr Shulman or his advisers
                the respondents’ opposition to   the August EGM on multiple occasions in      until 19 September 2014, Mr Symeou,
                the    injunction,   Hornbeam    August, and multiple communications          acting in his capacity as director of
                learned that the proposed debt   made by Symeou and/or Halliwel related       Halliwel, the sole registered member of
 Approval of    restructuring had already been   to the August EGM, Hornbeam and              WSH, had approved the proposed
Restructuring   passed and approved by           Shulman did not learn until September        restructuring of WSH’s debts on 1 August
  without       Symeou and Warren Steel’s        2014, while the injunction application was   2014.
 Hornbeam’s     management, without being        being litigated, that the resolution related
 knowledge      placed for consideration at the  to the debt restructuring agreement,
                EGM, which meeting never         which were to be submitted for approval
                occurred.                        at the August EGM of Halliwel originally
                                                 noticed for August 8, 2014, had already
                                                 been “passed” by the Unanimous Written
                                                 Consent of the Sole Member of Warren
                                                 Steel on August 1, 2014.
                Hornbeam 1782 Application, Amended Complaint, ECF 28‐2, ¶¶ 35                 Shulman English Complaint, ECF 78 78
                ECF 4 at 6:                                                                   (Sealed Document) at 28:
                Around 2006, the Principals In 2006, a $90 million credit line, $30 Under cover of email sent on or around 7
                jointly determined to alter the million allocated for each Principal, was May 2012 and purportedly by way of
                Joint Venture’s objective to opened by Divot Enterprises Limited clarification of the manner in which Mr
                restarting the Steel Factory’s (“Divot”) for the benefit of Warrant Steel Kolomoisky had invested Mr Shulman’s
                operations in Warren, Ohio. In (“Investment Agreement”).                      money in WSH, Mr Novikov described a
                support of the Joint Venture’s Divot is an entity controlled by complex structure to be entered into
   Divot        new objective, the Principals Kolomoisky.                                     involving (i) the assignment to Mr Shulman
                jointly agreed to open a $90                                                  and the Defendants of a series of loans
                million credit line, $30 million                                              which had purportedly been provided to
                each, in Divot Enterprises                                                    Halliwel in 2006 by a company called
                Limited (“Divot”), an entity                                                  Divot Enterprises Limited (“Divot”, which
                controlled by Kolomoisky, for                                                 Mr Shulman believes is also a Related
                the benefit of Warren Steel.                                                  Company), and (ii) the capitalisation of
                                                                                              such loans. Prior to receipt of this email,
                                                                                              Mr Shulman had not heard of Divot.
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                          Hornbeam Application                    Ohio Amended Complaint                            Shulman Claims
                     Campanile Declaration, ECF 4‐2 ¶ 7:      Amended Complaint, ECF 28‐2, ¶ 25:
                                                                                               Shulman English Complaint, ECF 78
                                                                                               (Sealed Document) at 20:
                     In essence, the dispute can be Shulman made the initial investment The purchase price of $13.5 million
                     described as follows: Shulman, via of roughly $13.5 million for the Steel paid for Warren Steel was financed
                     entities which he controlled, Factory.                                    by Mr. Shulman.
                     purchased for $13.5 million the
   Shulman           assets and property of a United
 finances the        States steel factory.
 purchase of
 Warren Steel




                     Campanile Declaration, ECF 4‐2 ¶ 8:      Amended Complaint, ECF 28‐2, ¶ 37:           Shulman English Complaint, ECF 78
                                                                                                           (Sealed Document) at 29:
                     Based on the documents that I have       The majority of the $90 million credit       The Defendants have not provided
                     seen, $86,679,998.05 of the $90          line has been purportedly drawn down         any documentation demonstrating
                     million credit line has been drawn       as a direct contribution to Warren           that WSH received or benefitted from
                     down.        $84,391,551.40 of the       Steel then later converted into equity       any of the sums allegedly drawn down
                     drawdown amount was a direct             of Halliwel Assets, Inc. (“Halliwell”), in   by Halliwel under the First Divot
                     contribution to Warren Steel. The        equal parts for the ultimate benefit of      Facility or the Second Divot Facility.
                     $86,679,998.05 has been converted        the Principals, including Shulman.           Further, the Defendants have not
 Drawdown of
                     into equity of Halliwel in equal parts                                                explained the reason for the
Divot credit line
                     for the ultimate benefit of the                                                       difference between the sum of $90
                     Principals, including Shulman.                                                        million allegedly invested in Warren
                                                                                                           Steel and the sum of $86,679,998.05
                                                                                                           allegedly owed under the First and
                                                                                                           Second Divot Facilities.
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                      Hornbeam Application                   Ohio Amended Complaint                        Shulman Claims
                 Campanile Declaration, ECF 4‐2 ¶ 13:    Amended Complaint, ECF 28‐2, ¶ 63:   Shulman English Complaint, ECF 78 78
                                                                                              (Sealed Document) at 24:
                 In respect of all related‐party loans, With each of the Related Party loans, The total amount allegedly loaned
                 Korf executed the loan documents Korf executed the loan documents on under            those   agreements     was
                 on behalf of both the lenders and behalf of both the lenders and the approximately $34 million. Each of
                 the borrower Warrant Steel.            borrower Warrant Steel.               the loan agreements and their
Korf executes
                                                                                              accompanying promissory notes
documents for
                                                                                              were signed byMr Korf on behalf of
 lender and
                                                                                              both WSH and the lender.
  borrower.




                 Campanile Declaration, ECF 4‐2 ¶ 13:    Amended Complaint, ECF 28‐2, ¶ 89:       Shulman English Complaint, ECF 78
                                                                                                  78 (Sealed Document) at 25:
                 Most disturbingly, under the terms of   Most disturbingly, under the terms of    By an agreement purportedly entered
                 the proposed debt‐restructuring         the    proposed     debt‐restructuring   into on the same date and signed by
                 agreement, the new and ratified         agreement, the new and ratified loans    Mr Korf on behalf of Optima
                 loans to Warren Steel were styled       to Warren Steel were styled "on          Acquisitions and WSH, Optima
                 "on demand" and could be called in      demand" and could be called in at any    Acquisitions granted a loan in the sum
                 at any time at the sole discretion of   time at the sole discretion of the       of $15 million to WSH which was
                 the lenders, which appear to be         lenders, which appear to be controlled   repayable on demand.
 On demand
                 controlled by the Other' Ultimate       by the Other' Ultimate Beneficial
   loans
                 Beneficial Owners and/or Korf.          Owners and/or Korf.
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     Hornbeam Application                     Ohio Amended Complaint                            Shulman Claims
                                               Damages
Hornbeam 1782 Application, ECF 4           Amended Complaint, ECF 28‐2, ¶ 225:       Shulman English Complaint, ECF 78
at 1‐2:                                                                              (Sealed Document) at 27:
for violation of the BVI Business          Defendants have entered into an           Pursuant to the Agreement and/or their
Companies Act of 2004, including,          agreement to improperly divest Mr.        fiduciary duties, the Defendants are
without limitation, an accounting,         Shulman of his one‐third interest and     obliged to account for their dealings in
valuation, shareholder oppression,         convert his investment of roughly         relation to and with Warren Steel and
and buyout, that will be filed in the      $58.5 million in Warren Steel for their   WSH, including as to any assets derived
Commercial Division of the High            own benefit.                              from the investment in Warren Steel
Court of Justice, British Virgin Islands   Pg. 36:                                   and/or derived from WSH or its assets
                                           WHEREFORE,        Plaintiffs   request    which are in the hands of the Defendants
                                           judgment against Defendant as             and/or under their control and extending
                                           follows:                                  to any dealings with WSH carried out
                                                                                     through      companies     which     they
                                           ….                                        controlled. In the premises:
                                           2) For damages exceeding $1,000,000       (1) Mr Shulman seeks such an account,
                                           payable to Plaintiffs for civil           together with all necessary enquiries in
                                           conspiracy to commit fraud, punitive      relation to the Defendants’ dealings in
                                           damages; costs and attorney fees, and     relation to and with Warren Steel and
                                           other damages as set forth in the         WSH; and/or
                                           Second Claim;                             (2) Mr. Kolomoisky and/or Mr
                                           3) For damages exceeding $1,000,000       Bogolyubov hold any such assets on
                                           payable to Plaintiffs for civil           trust for Mr Shulman and/or they hold
                                           conspiracy to commit conversion,          any traceable proceeds thereof for the
                                           punitive damages; costs and attorney      benefit of Mr. Shulman and must
                                           fees, and other damages as set forth      account to him in respect of the same
                                           in the Third Claim;                       and/or have been unjustly enriched and
                                           4) For damages exceeding $1,000,000       are obliged to make restitution in
                                           payable to Plaintiffs for unjust          respect of the same.
                                           enrichment; costs and attorney fees,
                                           and other damages as set forth in the
                                           Fourth Claim;
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    Hornbeam Application          Ohio Amended Complaint                Shulman Claims
                                 Defendants
Hornbeam 1782 Application, ECF 4, Amended Complaint, ECF 28‐2, Shulman English Complaint, ECF 78
Symeou, Marigold, Halliwel        Halliwel, Warren Steel, Kolomoisky, Kolomoisky and Bogolubov
                                  Bogolubov, Korf, and Symeou
